Case 1:14-cr-00068-LGS   Document 242-3   Filed 05/15/15   Page 1 of 8




                  EXHIBIT 3
        Case 1:14-cr-00068-LGS                     Document 242-3 Filed 05/15/15 Page 2 of 8
                                                  ARTICLE        IN PRESS
G Model
DRUPOL-1273; No. of Pages 7

                                                               International Journal of Drug Policy xxx (2013) xxx–xxx



                                                                   Contents lists available at ScienceDirect


                                                     International Journal of Drug Policy
                                                   journal homepage: www.elsevier.com/locate/drugpo


Editors’ choice

Responsible vendors, intelligent consumers: Silk Road, the online
revolution in drug trading
Marie Claire Van Hout a,∗ , Tim Bingham b
a
    School of Health Sciences, Waterford Institute of Technology, Waterford, Ireland
b
    Irish Needle Exchange Forum, Ireland




a r t i c l e            i n f o                             a b s t r a c t

Article history:                                            Background: Silk Road is located on the Deep Web and provides an anonymous transacting infrastructure
Received 28 August 2013                                     for the retail of drugs and pharmaceuticals. Members are attracted to the site due to protection of identity
Received in revised form 25 October 2013                    by screen pseudonyms, variety and quality of product listings, selection of vendors based on reviews,
Accepted 27 October 2013
                                                            reduced personal risks, stealth of product delivery, development of personal connections with vendors
                                                            in stealth modes and forum activity. The study aimed to explore vendor accounts of Silk Road as retail
Keywords:
                                                            infrastructure.
Silk Road
                                                            Methods: A single and holistic case study with embedded units approach (Yin, 2003) was chosen to explore
Internet
Vending
                                                            the accounts of vendor subunits situated within the Silk Road marketplace. Vendors (n = 10) completed
Drug markets                                                an online interview via the direct message facility and via Tor mail.
                                                            Results: Vendors described themselves as ‘intelligent and responsible’ consumers of drugs. Decisions
                                                            to commence vending operations on the site centred on simplicity in setting up vendor accounts, and
                                                            opportunity to operate within a low risk, high trafﬁc, high mark-up, secure and anonymous Deep Web
                                                            infrastructure. The embedded online culture of harm reduction ethos appealed to them in terms of the
                                                            responsible vending and use of personally tested high quality products. The professional approach to
                                                            running their Silk Road businesses and dedication to providing a quality service was characterised by
                                                            professional advertising of quality products, professional communication and visibility on forum pages,
                                                            speedy dispatch of slightly overweight products, competitive pricing, good stealth techniques and efforts
                                                            to avoid customer disputes. Vendors appeared content with a fairly constant buyer demand and described
                                                            a relatively competitive market between small and big time market players. Concerns were evident with
                                                            regard to Bitcoin instability.
                                                            Conclusion: The greatest threat to Silk Road and other sites operating on the Deep Web is not law
                                                            enforcement or market dynamics, it is technology itself.
                                                                                                                             © 2013 Elsevier B.V. All rights reserved.




Introduction                                                                                 the digital currency called Bitcoin (BTC). This ensures payment
                                                                                             anonymity via online veriﬁable transactions occurring without a
    Cyber drug markets and online drug user communities are                                  central third party (Bitcoin, 2011; Davis, 2011). At the time of writ-
increasingly innovative in providing avenues for drug retail (Davey,                         ing, BTC can be bought at many online exchanges such as the Tokyo
Schifano, Corazza, & Deluca, 2012; Forsyth, 2012). The develop-                              Mt. Gox and Bitstamp and is indexed to the USD (27/08/2013 valued
ment of usable interfaces, electronic currencies and anonymous                               at USD100). See Fig. 1 for an example of BTC.
networks has facilitated ease of access of drug markets located on                               Silk Road is the most famous novel drug trading site and is in
the Deep Web (Christin, 2013; Tor Project, 2011). The Deep Web                               operation since February 2011. It is located on the Deep Web. Whilst
is accessed via secure and conﬁdential communication lines by                                Silk Road is not a shop (Christin, 2013), it provides an online and
encryption of computer IP addresses using Tor anonymising soft-                              anonymous transacting infrastructure similar to eBay by its vis-
ware or web proxy to the Tor network (http://tor2web.org) (Tor                               ibility of vendor, buyer and product ratings to assist in member
Project, 2011). For users transacting on Deep Web sites, Electrum is                         transaction decision-making, its professional dispute resolution
an anonymous Tor server used to access a virtual wallet containing                           mechanism, and Escrow system that releases payment to vendors
                                                                                             on customer receipt of orders (Barratt, 2012). It has wisely max-
                                                                                             imised on its trust mechanisms by demonstrating it is not a typical
    ∗ Corresponding author. Tel.: +353 51 302166.                                            counterfeit drug website scam. 220 distinct categories of drug and
      E-mail address: mcvanhout@wit.ie (M.C. Van Hout).                                      related products are listed for sale which include cannabis, ecstasy,

0955-3959/$ – see front matter © 2013 Elsevier B.V. All rights reserved.
http://dx.doi.org/10.1016/j.drugpo.2013.10.009



    Please cite this article in press as: Van Hout, M. C., & Bingham, T. Responsible vendors, intelligent consumers: Silk Road, the online revolution in
    drug trading. International Journal of Drug Policy (2013), http://dx.doi.org/10.1016/j.drugpo.2013.10.009
          Case 1:14-cr-00068-LGS                         Document 242-3                      Filed 05/15/15                 Page 3 of 8
                                            ARTICLE IN PRESS
G Model
DRUPOL-1273; No. of Pages 7

2                                           M.C. Van Hout, T. Bingham / International Journal of Drug Policy xxx (2013) xxx–xxx


                                                                                        use intermediaries, and resolution of (any) dispute between ven-
                                                                                        dors and buyers (Christin, 2013). Commission fees range between
                                                                                        3 and 8.5% of the sales price. Transactions can also take place
                                                                                        out of Escrow via private messaging hosted by Tor. The dynamic
                                                                                        site turnover of vendors is visible, with Christin (2013) report-
                                                                                        ing that a majority of vendors disappear within three months of
                                                                                        market entry, with most items available for less than three weeks.
                                                                                        Stealth and custom listings exist whereby vendors may exit the
                                                                                        visible online listings, and custom is directed at certain buyers by
                                                                                        providing the URL or via private messaging. Vendors active for
                                                                                        over one month and with more than 35 successful transactions
                                                                                        are allowed to request buyers to ﬁnalize early (release of pay-
                                                                                        ment before receipt of the product). This presents some concern
                                                                                        for buyers, with potential for being ripped off (dubbed ‘whitewash-
                                                                                        ing’) where vendors build an excellent reputation and relationship
                                                                                        with its customer base and then exit, leaving a large number of
                                                                                        paid but un-dispatched orders (Feldman, Papadimitriou, Chuang, &
                                                                                        Stoica, 2006) and offering little recourse for dissatisﬁed customers
                                Fig. 1. Bitcoin.                                        (Christin, 2013). See Fig. 3 for an example of the Silk Road vendor
                                                                                        roundtable page.
                                                                                            Comprehensive measurement analysis and site monitoring for
psychedelics, opioids, stimulants, benzodiazepines and dissocia-                        a period of eight months during late 2011 and 2012 estimated
tives (Barratt, 2012; Christin, 2013). See Fig. 2 for an example of                     total vendor revenue from public listings, as slightly over USD1.2
the Silk Road front page listings.                                                      million per month, with approximately USD92,000 per month in
   Consumer purchasing motives and decisions to access Silk Road                        commissions for the Silk Road operators (Christin, 2013). At the
appear grounded in so called ‘responsible’ drug consumerism,                            time of writing, Christin has since commented that Silk Road’s traf-
with users presenting themselves as drug connoisseurs (Van Hout                         ﬁc and reputation increased drastically over the past 12 months,
& Bingham, 2013a,b). Other motivating factors include the pro-                          with expectations that it had doubled its transactions to some-
tection of identity by screen pseudonyms, selection of vendors                          where between USD30 and 45 million. According to Van Buskirk,
based on review feedbacks, trust building within anonymous                              Roxburgh, Bruno, and Burns (2013), increased trafﬁc on Silk Road is
transacting, variety and quality of product listings, distance from                     largely due to international vendor activity. A June 2013 crawl of the
street sourcing, stealth of product delivery and forum activity                         site by StExo (a Silk Road member) revealed 1239 active vendors
within the active Silk Road community (Van Hout & Bingham,                              selling at any given moment. This represents double the number
2013a,b).                                                                               Christin reported on in August 2012. At the time of writing this
   Of interest for this study is that previous qualitative work                         paper in August 2013, we were able to view 13,426 listings origi-
with Silk Road members in 2012 and 2013 (Van Hout & Bingham,                            nating from EU countries, the US, Australia, New Zealand, Canada,
2013a,b) indicated members’ intentions to commence vending on                           Russia, Thailand, Indonesia, Hong Kong, Singapore, Ghana, Japan,
the site. Vendor authenticity and member opportunity to com-                            Vietnam, South Africa and the Philippines, along with 17,066 unde-
mence vending on the site are controlled through the payment                            clared listings. Christin (2013) noted a clear bias toward vending
of a refundable bond (at the present time USD500), and by the                           activity from English speaking countries. It is important to note
auctioning of new vendor accounts to the highest bidders. Ven-                          that countries may have several active vendors who may list or
dors and buyers are mandated to use the Escrow system which                             advertise more than once, and who dispatch to a variety of desti-
facilitates transacting via tumbler services of dummy and single                        nations.




                                                                    Fig. 2. The ‘Silk Road’ front page.



    Please cite this article in press as: Van Hout, M. C., & Bingham, T. Responsible vendors, intelligent consumers: Silk Road, the online revolution in
    drug trading. International Journal of Drug Policy (2013), http://dx.doi.org/10.1016/j.drugpo.2013.10.009
    Case 1:14-cr-00068-LGS                      Document 242-3                      Filed 05/15/15                  Page 4 of 8
                                       ARTICLE IN PRESS
G Model
DRUPOL-1273; No. of Pages 7

                                       M.C. Van Hout, T. Bingham / International Journal of Drug Policy xxx (2013) xxx–xxx                                3




                                                        Fig. 3. The ‘Silk Road’ vendor roundtable page.


   We present here the ﬁrst successful attempt to engage with the                  of narratives (Stake, 1995). These multiple data sources were tar-
vendor population on the site, and explore vendor accounts of their                geted by propositions, and converged into the ﬁnal data analysis in
experiences of the Silk Road retail infrastructure for sale of drugs.              order to enhance rigor and data credibility (‘truth value’) (Knaﬂ &
                                                                                   Breitmayer, 1989; Yin, 2003). Propositions included vendor demo-
                                                                                   graphics, prior experience of selling drugs, introductions to the site,
Methods
                                                                                   year of commencement of vending, reasons for vending, type of
                                                                                   drugs sold, the Silk Road customer base, Silk Road retail processes,
    Ethical approval for the project was granted at Waterford Insti-
                                                                                   market development, vendor competition, supply channels, qual-
tute of Technology, Ireland. The study was undertaken as part of
                                                                                   ity assurance and harm reduction, interaction on forums BTC, and
a longitudinal Silk Road site monitoring exercise which involved
                                                                                   law enforcement interference. We analysed data within, between
three phases; a holistic single case study with a Silk Road member
                                                                                   and across subunits of each vendor, so as to illuminate these unique
(Van Hout & Bingham, 2013a), an integrated study of systematic site
                                                                                   vending experiences within Silk Road setting as bounded context
monitoring of forum activity and online interviewing of a cohort of
                                                                                   (Miles & Huberman, 1994). Pattern matching, linking back to propo-
Silk Road customers (Van Hout & Bingham, 2013b), and an inter-
                                                                                   sitions and building explanations was assisted by the software
view study of vendor experiences of retailing on the site. The project
                                                                                   program QSR NVivo 8.0 (Qualitative Solutions and Research, 2008)
adhered to best practice protocols for online research (Barratt &
                                                                                   which grouped the data into macro groupings, subsequent themes
Lenton, 2010), for further detail see Van Hout and Bingham (2013b).
                                                                                   and appropriate categories (Elliott, 2006; Riessman, 2008).
    Author two was familiar with the use of Tor and private mes-
saging on Silk Road, and acted as ‘Privileged Access Interviewer’
(Santis et al., 2004; Taylor & Kearney, 2005). He participated on site             Results
forums for 12 months prior to data collection in order to establish
rapport and garner trust with vendors. Permission to undertake                        10 participants vending on Silk Road agreed to partake in the
a study of vendor accounts of their experiences of the site was                    study. Nine were male. Ages ranged as follows: 25–29 years (n = 1),
sought from the site administrator. Threads requesting participa-                  30–34 years (n = 4), 35–39 years (n = 2), 40–44 years (n = 1), 45–50
tion in the research were posted on forums, along with threads                     years (n = 1), and over 50 years (n = 1). Four participants reported
presenting information on research objectives, ethics and informed                 being in fulltime employment, one reported part time employ-
text based consent. Negative and at times suspicious comments,                     ment, one was in tertiary education and four participants were
along with interested queries were evident during this timeframe. A                unemployed. Two participants reported graduate level educational
number of Silk Road members requested copies of earlier authored                   attainment. We present here the participant accounts of their ven-
Silk Road publications (Van Hout & Bingham, 2013a,b) in order to                   dor experiences on Silk Road.
validate the researchers’ motives and intended approaches prior to
participation.
    Vendors willing to complete the online interview (n = 10) via                  The online community of interested parties
the direct message facility through the Silk Road Forum, and via
Tor mail were provided with a series of open ended questions,                          All participants described a personal interest in the ‘intelli-
and advised to complete at their convenience. Visibility of vendor                 gent and responsible’ use of drugs, particularly ethno-botanicals,
accounts on the Silk Road ensured that participating vendors were                  psychedelics and psycho stimulants. All reported intense use of the
involved in the sale of drugs and pharmaceuticals. All communica-                  internet to research drug information and related outcomes (i.e.
tion was encrypted using PGP encryption software. This approach                    sites such as ‘Erowid’, ‘Bluelight’ and ‘Topix’) and for interaction in
was chosen in order to facilitate vendors feed-back and to ensure                  user chat-rooms. They all reported becoming aware of Silk Road and
secure communication at their convenience (Van Hout & Bingham,                     its location on the Deep Web in late 2011 via chat-room activity.
2013b). Participants were not identiﬁable by either their personal                     No participants had purchased narcotics, research chemicals or
name or Silk Road screen pseudonym, and were advised not to                        pharmaceuticals online prior to accessing Silk Road because of con-
mention any potential identiﬁers. Data collection lasted six months.               cerns around site credibility, scamming and counterfeit products.
    The research adopted a single and holistic case study with                     Silk Road by manner of its huge choice of high quality drug prod-
embedded sub units approach (Yin, 2003). This was chosen in order                  ucts listed, and anonymous but insular member population within
to explore vendor accounts of their experiences as sub units situ-                 its secure infrastructure offered them the ideal opportunity to con-
ated within the larger Silk Road marketplace. Propositions based                   sider entry as consumers. Some participants observed that once
on extant literature, earlier work (Van Hout & Bingham, 2013a,b)                   entrenched in the ‘Silk Road world’, that the ‘the site itself is addic-
and researcher experiences of navigating the site itself were used                 tive’. Many commented on its 24 hour nature and supportive safety
to guide and focus the data collection and subsequent discussion                   net of member communication via Tor messaging and in forums.


 Please cite this article in press as: Van Hout, M. C., & Bingham, T. Responsible vendors, intelligent consumers: Silk Road, the online revolution in
 drug trading. International Journal of Drug Policy (2013), http://dx.doi.org/10.1016/j.drugpo.2013.10.009
          Case 1:14-cr-00068-LGS                       Document 242-3                      Filed 05/15/15                 Page 5 of 8
                                          ARTICLE IN PRESS
G Model
DRUPOL-1273; No. of Pages 7

4                                         M.C. Van Hout, T. Bingham / International Journal of Drug Policy xxx (2013) xxx–xxx


   The site’s harm reduction ethos appeared centred on informed                       infrastructure anonymously and as economically viable and secure
consumerism and responsible vending by availability of high                           business channel for the sale of narcotics, research chemicals and
quality products with low risk for contamination, vendor tested                       pharmaceuticals.
products, trip reporting, and feedback on the vending infrastruc-
ture.                                                                                     The unique opportunity to make money. It ﬁtted in with my
                                                                                          lifestyle and it was kind of exciting. (Participant 9, Male aged
     I think it is top of the list on harm reduction - Silk Road is all                   30–34 years)
     about the quality - you sell bunk gear, you will get burnt on
     the forum and your feedback so you lose sales. The forum is                      One participant described his unemployment status and lack of
     also great for what/what not to do with near enough any drug                     ﬁnancial opportunity in the ‘real world’ as dictating his decision
     there is; best practices, dosage everything you need to know is                  making to proceed to vend on the site.
     all a quick search away on the forum. (Participant 4, Male, aged
     30–34 years)                                                                         For me, it was very much the perfect storm. I found myself in a
                                                                                          position where I had no job, no local connections and no real
When questioned around personal purchasing histories on Silk                              hope of change. I did however have many skills and experi-
Road, several participants had never purchased on the site, despite                       ence with drugs, due to my recreational use and general interest.
operating as vendors themselves. The majority described their pur-                        (Participant 5, Male, aged 30–34 years)
chase history as ‘infrequent’. Two participants with more regular
purchase experience on Silk Road kept their vendor and buyer                          Advantages were described as multi-fold in terms of its security,
accounts separate, and described sourcing speciﬁc drugs (syn-                         low risk and simplicity of vending on the site, circumvention of
thetic compounds and ethno-botanical products) not available to                       national legislative controls, ability to sell products at a higher
them in their locality, purchasing for personal use and in bulk for                   mark-up than in real life, high trafﬁc volume of users and the large
resale.                                                                               scale ‘educated’ and wealthy customer base.

Secure or not?                                                                            Silk Road is far superior to traditional drug markets. It has a
                                                                                          massive customer base that no other site will ever match. The
   Prior knowledge of computer technology was viewed as vital,                            opportunity to make money online is far greater than selling
with some concerns evident around ‘trusting’ the infrastructure                           locally; even without moving lots of weight. (Participant 7, Male
when transacting and some experiences of site unreliability in the                        aged 30–34 years)
past.
                                                                                      Six participants reported vending on Silk Road since 2012, with two
     The Deep Net is the Wild West though, so it’s really to be                       commencing in 2011, and two in 2013. Two participants had never
     expected. (Participant 7, Male aged 30–34 years)                                 sold drugs either online or face to face before vending on Silk Road.
                                                                                      The process of setting up a vendor account on the site was described
Some wariness around the evolving of cyber security and the                           as relatively simple, and consisting of the completion of an online
potential for coordinated attacks on the site itself were voiced. Par-                form and clicking on the ‘Become a Seller button’, payment of the
ticipants generally viewed the Tor system as presently effective in                   bond and purchasing of BTC. Some participants described paying
providing security despite being slow in operation.                                   USD150 to purchase the vendor account, with others describing a
                                                                                      recent increase to a USD500 returnable bond on completion of 30
     The downside as a seller is the fact you have to trust the Tor                   transactions.
     network to keep you safe. If you are not a computer scientist,                       Sourcing of drugs for resale on Silk Road occurred via
     a lot is down to just faith. A seller has to learn a lot about the               personal laboratories, personal contacts, outside in the case
     technology, if they are concerned with staying safe. It’s a big                  of ethno-botanicals and via Silk Road itself. Four participants
     subject to dive into and much deeper than what you may ini-                      reported consistently sourcing the same supplier. The remain-
     tially think. You also have to have faith in ‘Silk Road’ itself. Your            der described switching suppliers in order to buy better quality
     whole selling history is stored on a server somewhere. That is                   products and in bulk, or when intercepted by law enforce-
     not comforting. (Participant 9, Male aged 30–34 years)                           ment. Street vending for those who operated in both markets
                                                                                      was observed to be restricted to local demands for ‘MDMA,
Some participants described BTC as ‘the digital equivalent of cash’                   cocaine, GHB and opiates’. Silk Road in contrast was observed
and a ‘revolutionary way of transferring money’ outside of the                        to open the door for the sale of many other distinctive prod-
banking system. Half of participants were concerned around BTC                        ucts; ‘DMT’, ‘MDA’, ‘Mescaline’, ‘Ketamine’, ‘LSD’, ‘Methamphetamine’,
ﬂuctuations in value with all participants describing their manage-                   ‘2CB’, ‘Ps. Cubensis spores’, ‘25I-NBOMes’, ‘diazepam’, ‘prescrip-
ment of currency risk by factoring into product pricing, and cashing                  tion medications’, ‘natural ethno-botanicals’, ‘oxycodone’, ‘morphine’,
in at optimal values or at the end of each day.                                       ‘hydro-morphine’, ‘methamphetamine’, ‘methadone’, ‘marijuana’,
    Participant opinions on the future direction of Silk Road centred                 ‘salvia’, ‘2CB’, ‘ketamine’, ‘LSD’, ‘kratom’, ‘HBWR’, ‘psychotria viridis’,
on the protection of the site and its expansion as secure drug sell-                  ‘seeds’ and ‘drug paraphernalia’. Several participants commented
ing infrastructure. Some comments [at the time of ﬁeldwork] were                      that vending via the ‘Silk Road’ infrastructure by virtue of its com-
made around the recent emergence of ‘copycat’ competitors such                        plete anonymity and secure electronic transacting circumvented
as ‘Atlantis’.                                                                        potential personal risks and harms associated with street vending
                                                                                      by creation of social distance from their customer base.
The vending infrastructure
                                                                                          The street market is more risky for everyone. It doesn’t have
    For the majority, the decision to set up a vendor account                             feedback or rating available for every buyer to read. You are
occurred within several weeks of interacting with other members                           more likely to be involved with people who might not be con-
in the site’s forums. Motivations centred on the ability to use the                       cerned in your welfare. (Participant 9, Male aged 30–34 years)



    Please cite this article in press as: Van Hout, M. C., & Bingham, T. Responsible vendors, intelligent consumers: Silk Road, the online revolution in
    drug trading. International Journal of Drug Policy (2013), http://dx.doi.org/10.1016/j.drugpo.2013.10.009
    Case 1:14-cr-00068-LGS                      Document 242-3                      Filed 05/15/15                  Page 6 of 8
                                       ARTICLE IN PRESS
G Model
DRUPOL-1273; No. of Pages 7

                                       M.C. Van Hout, T. Bingham / International Journal of Drug Policy xxx (2013) xxx–xxx                                 5


Quality of drug products sold (with exception of known pharma-                         forum, so more customers come to you. (Participant 4, Male,
ceuticals) was ensured by use of ‘proper reagents, lab work (GMP)                      aged 30–34 years)
and analytics’, personal research and testing, ‘freebie’ testing by long
term customers, feedback from other vendors, and sourcing from                     Three participants described selecting to transact with buyers
reputable suppliers.                                                               based on their feedback ratings, with the remainder happy to sell
                                                                                   to all potential customers. All participants would sell to a buyer
   I think there should be a difference acknowledged between                       with less than ﬁve transactions on Silk Road, and voiced trust
   drugs people get hooked on and need to use daily and drugs                      in the Escrow system and use of dispatch tracking notices. Some
   that people do for recreation or creativity or whatever. I source               avoided potential customers with negative purchase history feed-
   from a select few whose products I’ve tested and tried. Not a                   back (i.e. returns or item not received) or those with requests to
   batch of anything goes out from me without it tested by myself.                 order large bulk orders, and requested such customers to ‘ﬁnalise
   I do not sell anything I don’t use myself. That is my moral stand-              early’. Some negative experiences were described where vendors
   ing and anything I sell on here is something I will happily use                 didn’t get paid immediately, with a few concerns voiced around
   myself. (Participant 9, Male aged 30–34 years)                                  inability to prevent scams or being ripped off by customers. Dis-
                                                                                   putes with customers were described as infrequent and centring
Participants declined to reveal their personal location, and the pro-              on non-arrival of packages, and resolved by marking products as
cess of how dispatch of products occurs. ‘Drop addresses’ were                     ‘not arrived’ and refunding or resending the product. Few reported
commonly used.                                                                     having to use the Silk Road dispute resolution mode, with all
                                                                                   commenting favourably on this form of support intervention if
   I will not discuss exactly how, or how I get them through                       needed.
   customs on international orders. However when I do ship inter-                      Vending was described as fairly constant in terms of buyer
   national the packages look like any other package, the customs                  demand, with the site observed to be relatively competitive but
   claim is good enough that the buyer can go down to the customs                  with more than enough customers to go around, particularly in the
   ofﬁce if it is held and claim it. (Participant 1, Male, aged 35–39              case of MDMA and LSD markets, and operating with ‘a big sense of
   years)                                                                          community and camaraderie.’ Several participants commented on
                                                                                   the visibility of vendor turnover on the site.
A minority of participants reported concern around product inter-
ception. All reported factoring this risk into pricing the product,                    It would seem like there is a high amount of turnover in small
and destroying postage information once the product was pack-                          time vendors. There are a solid 10–20% of serious vendors. They
aged. Many described using latex gloves and masks to ensure no                         are, most likely, full time and take care in what they do. Basically,
traces of personal DNA get into or onto packages.                                      they have a signiﬁcant investment made in their business. It’s
                                                                                       the difference between a hobbyist and a business. (Participant
   I go to great lengths to make my operation as covert as possible.                   7, Male aged 30–34 years)
   If they investigate me, they should not have enough information
   to make a case. (Participant 7, Male aged 30–34 years)                          Many participants traded intermittently on the site, by listing for
                                                                                   a few weeks and then operating via ‘stealth mode’ on reaching a
The market                                                                         quota of customers. Half of participants had not yet used this option,
                                                                                   which was also used when low on stock, and when special size
    Participants appeared professional and dedicated to providing                  orders were requested.
a quality service in order to optimise on outputs and market ﬂow.
The maintenance of a customer base was described grounded in                           I treat any interaction with customers with a lot of care. When
vendor reputation by regular updating of proﬁle pages and forum                        people get my packages, they are usually so impressed with the
activity, professional communications, competitive pricing, qual-                      stealth, they come back. If someone makes a deal with me on a
ity products, using good stealth techniques and speedy dispatch of                     custom quantity or price, I’ll make a stealth listing for them. I
slightly overweight items.                                                             do that so someone else can’t grab the deal before they do. Only
                                                                                       the intended party has the link. (Participant 7, Male aged 30–34
   Reputation on Silk Road is what keeps vendors in business. Your                     years)
   reputation is open to all. The seller who wants good business
   on Silk Road has to try and make every customer happy. Cus-                     Discussion
   tomer service has never been this good on the street market.
   (Participant 9, Male aged 30–34 years)                                              We are grateful to the Silk Road administrator (dubbed ‘Dread
                                                                                   Pirate Roberts’) for agreeing to facilitate the research and the par-
Participants observed that new customers were attracted to their                   ticipating vendors who have provided a unique and illustrative
products via professional photographs with grammatically correct                   account of their experiences on the Silk Road retail infrastructure.
description, pricing, quality of their products, reports of speedy                 We recognise that this unique case study with its embedded sub-
dispatch, positive feedback relating to stealth listings, and overall              units cannot be deemed representational of all vendors operating
excellent customer service. Many participants observed ‘satisfac-                  on the site. The narratives of these vendors are constructed and rep-
tion’ on reaching a stable quota of customers. All participants                    resented with a purpose within the interview context, by allowing
commented on the time investment required to maintain a cus-                       unique insight into the cyber-social world of Deep Web drug mar-
tomer base which involves site activity, sourcing drugs, ensuring                  ket determinants, consumer pathways and outcomes. Equally, the
quality via personal or lab testing, packaging and BTC exchanging.                 use of the Internet as source of public health research necessitates
                                                                                   careful validation against established data sources, and consider-
   Not fussed about attracting new customers, have enough to keep                  ation of potential biases (Dasgupta et al., 2013). To some extent,
   me going. keeping prices as low as possible, shipping promptly                  the work builds on situational, relational and structural elements
   and using good stealth techniques gets you good reviews on the                  identiﬁed in real life drug market hierarchies (Bourgois, 1995;



 Please cite this article in press as: Van Hout, M. C., & Bingham, T. Responsible vendors, intelligent consumers: Silk Road, the online revolution in
 drug trading. International Journal of Drug Policy (2013), http://dx.doi.org/10.1016/j.drugpo.2013.10.009
          Case 1:14-cr-00068-LGS                       Document 242-3                      Filed 05/15/15                 Page 7 of 8
                                          ARTICLE IN PRESS
G Model
DRUPOL-1273; No. of Pages 7

6                                         M.C. Van Hout, T. Bingham / International Journal of Drug Policy xxx (2013) xxx–xxx


Fitzgerald, 2009; Maher, 2000; May, Duffy, Few, & Hough, 2005;                        but insular member population within the secure infrastructure
Singer, 2001).                                                                        provided these vendors with the ideal opportunity to enter this
    Similar to our earlier work on Silk Road consumers (Van Hout                      drug market initially as site members. Of interest is their prior
& Bingham, 2013b), these vendors described themselves as ‘intel-                      lack of online sourcing experience similar to the earlier study on
ligent and responsible’ informed users of drugs with particular                       Silk Road member experiences (Van Hout & Bingham, 2013b) con-
personal interests in ethno-botanicals, psychedelics and psycho                       cerns for credible online drug purchasing, and for a minority lack
stimulants. They reported extensive online trawling of drug related                   of (any) drug dealing experience. In contrast to May et al. (2005),
sites, chat-rooms and Silk Road forums. Of interest is that by virtue                 Silk Road buyers and vendors do not appear to represent two dis-
of its 24 hour and insular nature, the Silk Road entrenched com-                      tinct species. Decisions to commence vending operations on the site
munity was viewed as addictive. The site’s libertarian ethos and                      centred on the simplicity involved in setting up a vendor account
embedded online culture (Van Hout & Bingham, 2013a,b) appealed                        (similar to decision-making in the mainstream Ebay site), and abil-
to them in terms of its revolutionary ethos and mechanism for                         ity to operate within a low risk, secure Deep Web infrastructure.
the responsible vending of personally tested high quality products,                   The lure of vending within an economically viable and secure
informed consumerism and controlled safe retail infrastructure.                       business channel with high volume of site trafﬁc, educated and
The professional approach to running their Silk Road businesses                       wealthy customer base, availability of distinctive ethno-botanicals
and dedication to providing a quality service was characterised                       and synthetic compounds, pricing proﬁts and capacity to circum-
by their efforts to avoid customer disputes, ensuring professional                    vent national legislative controls was attractive. Vendors reported
advertising of quality products, professional type communication                      ensuring quality by researching, sourcing from reputable suppliers,
and visibility on forum pages, speedy dispatch of slightly over-                      lab testing, personal and ‘freebie’ testing of their products. Similar
weight products, competitive pricing and operation of good stealth                    trends have been observed in illicit drug markets where drug users
techniques. In terms of pricing on Silk Road, Van Buskirk et al.                      obtain drugs for free or in exchange for goods and services, quan-
(2013) reported that average international and domestic (Aus-                         tity discounting occurs, and drug sales occur within closed social
tralian) prices of methamphetamine, cocaine and ecstasy sold on                       networks (Manksi, Pepper, & Petrie, 2001). Closed social networks
Silk Road remained stable in their site monitoring time frame, with                   in the Silk Road sense consist of stealth and custom networks.
average international prices substantially lower. Indeed, Dasgupta                        Given the global dimension of the Silk Road consumer base, ven-
et al. (2013) in their research on crowdsourcing of combined                          dors appeared content with a fairly constant buyer demand, and
street and online black market pricing of diverted pharmaceut-                        described a relatively competitive market of small and big-time
icals, observed that connecting online drug prices to behaviours                      market players. Efforts to estimate the size of the Silk Road opera-
and health outcomes could form the basis of future research.                          tion are clouded by its dynamic nature of visible product and vendor
    Given Silk Road’s potential built in quality mechanisms for safer                 listings, turnover and stealth mechanisms. Site monitoring in 2012
drug use, previous commentaries have suggested the need for                           reported a majority of vendors disappearing within three months
a shift in drug policy focus toward reducing consumer demand                          of market entry, with most products available for less than three
for web retailed drugs and optimising on the site’s capacity for                      weeks (Christin, 2013). A certain level of risk negotiation was evi-
encouraging safer forms of drug taking amongst a very hard to                         dent in terms of trusting the infrastructure to operate in a secure
reach and informed drug using population (Van Hout & Bingham,                         manner. Participant concerns were evident with regard to recent
2013a,b). The participant accounts reﬂect this, and are supported                     BTC instability despite its hedging system to protect against ﬂuc-
by their active participation in the Silk Road forums by providing                    tuations whilst products are in transit. Hidden networks in closed
harm reduction advice, information and support to other Silk Road                     stealth markets supported by the Deep Web with its vast infrastruc-
members, and therefore presenting a unique technology-driven,                         ture of multiple nodes and players reduce individual vendor risks
market-led form of harm reduction. This is supported by Barratt,                      and present a host of law enforcement difﬁculties. Vendor risks
Lenton, and Allen (2013) who in their research on websites involved                   were dealt with in a rational manner (Bright & Ritter, 2010; Caulkins
in the retailing of drugs, reported that certain websites contributed                 & MacCoun, 2003; Reuter & Kleiman, 1986) by factoring into pri-
positively to harm reduction, by assisting users in making informed                   cing, use of drop addresses and removal of DNA identiﬁcation. It was
decisions, and in accessing relevant and more comprehensive infor-                    regrettable but understandable that participants declined to reveal
mation, than available elsewhere. They commented on the blocking                      their personal location, and how the dispatch of products occurs.
of open websites as potentially driving drug user discussions under-                  Silk Road recommends the provision of delivery addresses distinct
ground, and with Deep Web retail infrastructures such as Silk Road                    from the buyer’s residence, with shipments of products commonly
unaffected by such Internet ﬁltering.                                                 disguised by use of vacuum sealed professional looking packages
    Drug vendors are often portrayed as ‘outsiders’ preying on local                  (Christin, 2013; Van Hout & Bingham, 2013a,b).
communities, with markets supply driven and centring on ‘push-                            Drug markets are incredibly resilient and adaptable to changes
ers’ creating and exploiting markets (May et al., 2005). In reality,                  in the environment, market driven, law enforcement or other-
this is not the case, and less so for an online retail infrastructure                 wise (Bright & Ritter, 2010). Challenges do exist in disembedding
such as Silk Road. Caulkins and Reuter (2009) have highlighted                        drug markets (May et al., 2005) and are reliant on the complexi-
the need for drug policy makers to recognise that ‘not all deal-                      ties of relationships between vendors, markets and communities,
ers are equally destructive’ (parallels can be drawn here with                        both online and in reality. Operating on the Deep Web appeared
the responsible beverage service in the alcohol industry) and that                    to present vendors and consumers with a novel way to circum-
the adaptable nature of drug markets, online or otherwise, and                        vent drug market violence and create distance between vendor and
displacement ‘pushdown/pop up’ creates opportunity for reshap-                        buyer (Christin, 2013; Van Hout & Bingham, 2013a,b). The drug
ing such markets to make the most harmful sub market of drug                          trade represents a key cause of violence, particularly in urban sett-
vending unattractive for vendors. Along with the site’s drive                         ings, and especially as a means for individuals and groups to secure
toward recreational drug marketing and promotion, the require-                        and maintain market share (Bright & Ritter, 2010; Brownstein,
ment for certain technological expertise restricts access to more                     Crimmins, & Spunt, 2000; Martin et al., 2009; Reuter & Kleiman,
vulnerable problematic drug customers (Van Hout & Bingham,                            1986; Werb et al., 2011). However, where illegal money goes, vir-
2013b).                                                                               tual violence in the cyber sense follows, with parallels drawn with
    Silk Road by manner of its large scale and credible operation,                    the closed street based market as described by May et al. (2005).
its huge choice of high quality products listed, and its anonymous                    Our observations suggest that the greatest threat to Silk Road and


    Please cite this article in press as: Van Hout, M. C., & Bingham, T. Responsible vendors, intelligent consumers: Silk Road, the online revolution in
    drug trading. International Journal of Drug Policy (2013), http://dx.doi.org/10.1016/j.drugpo.2013.10.009
     Case 1:14-cr-00068-LGS                                Document 242-3                     Filed 05/15/15                   Page 8 of 8
                                                 ARTICLE IN PRESS
G Model
DRUPOL-1273; No. of Pages 7

                                                 M.C. Van Hout, T. Bingham / International Journal of Drug Policy xxx (2013) xxx–xxx                                                   7


other sites operating on the Deep Web is not law enforcement or                              Christin, N. (2013). Traveling the Silk Road: A measurement analysis of a large anony-
market dynamics; it is cyber-technology itself.                                                   mous online marketplace. In International World Wide Web Conference (IW3C2)
                                                                                                  May 13–17, 2013, Rio de Janeiro, Brazil,. New York: ACM.
    In May 2013 and coinciding with the launch of the rival site                             Dasgupta, N., Freifeld, C., Brownstein, S. J., Menone, M. C., Surratt, L. H., Poppish, L.,
Atlantis, Silk Road experienced a sophisticated cyber-attack which                                et al. (2013). Crowdsourcing black market prices for prescription opioids. Journal
overwhelmed its servers, taking advantage of previously unknown                                   of Medical Internet Research, 15(8), e178.
                                                                                             Davey, Z., Schifano, F., Corazza, O., & Deluca, P. (2012). e-Psychonauts: Conduct-
vulnerability in the Tor system. Freedom Hosting the largest hosting                              ing research in online drug forum communities. Journal of Mental Health, 21,
service for sites operating on the Tor network was shut down in late                              386–394.
August 2013, with subsequent disappearance of many sites relying                             Davis, J. (2011). The crypto-currency. In The New Yorker. New York: Condé Nast.
                                                                                             Elliott, J. (2006). Using narrative in social research: Qualitative and quantitative
on the Tor anonymisation service. This recent trend toward cyber
                                                                                                  approaches. London: Sage.
interference is not conﬁned to the Tor system, with BTC increas-                             Feldman, M., Papadimitriou, C., Chuang, J., & Stoica, I. (2006). Free-riding and
ingly under global regulatory focus, despite efforts to regulate Tor                              whitewashing in peer-to-peer systems. IEEE Journal of Selected Areas in Com-
                                                                                                  munications, 24(5), 1010–1019.
websites and BTC posing a unique challenge to drug prohibition tac-
                                                                                             Fitzgerald, J. (2009). Mapping the experience of drug dealing risk environments: An
tics (Barratt et al., 2013). In May 2013, Tokyo’s Mt. Gox the largest                             ethnographic case study. International Journal of Drug Policy, 20, 261–269.
BTC currency exchange announced the requirement for identiﬁca-                               Forsyth, A. J. M. (2012). Virtually a drug scare: Mephedrone and the impact of the
tion for any individual intending to trade for real world currencies.                             Internet on drug news transmission. International Journal of Drug Policy, 23,
                                                                                                  198–209.
On 23 June 2013, BTC were listed as a seized asset in United States                          Jeffries, A. (2013). Drug Enforcement Administration seizes 11 Bitcoins from alleged
Department of Justice forfeiture via DEA ﬁling (Jeffries, 2013). Law                              Silk Road dealer. The Verge.
enforcement efforts are also increasingly tightening the net, with                           Knaﬂ, K., & Breitmayer, B. J. (1989). Triangulation in qualitative research: Issues of
                                                                                                  conceptual clarity and purpose. In J. Morse (Ed.), Qualitative nursing research: A
dealers using Silk Road in the US and Australia arrested in mid-                                  contemporary dialogue (pp. 193–203). Rockville, MD: Aspen.
2013.                                                                                        Maher, L. (2000). Sexed work: Gender race and resistance in a Brooklyn drug market.
    On October 2, 2013, the Federal Bureau of Investigations                                      Oxford: Oxford University Press.
                                                                                             Manksi, C. F., Pepper, C. V., & Petrie, C. V. (2001). Informing America’s policy on illegal
arrested the ‘Dread Pirate Roberts’, founder and administrator of                                 drugs: What we don’t know keeps hurting us. Washington: National Research
Silk Road on charges of alleged murder for hire and narcotics traf-                               Council.
ﬁcking violation, Silk Road was shut down and customer trafﬁc                                Martin, I., Palepu, A., Wood, E., Li, K., Montaner, J., & Kerr, T. (2009). Violence
                                                                                                  among street-involved youth: The role of methamphetamine. European Addic-
diverted to Atlantis, the up and coming competitor of Silk Road.
                                                                                                  tion Research, 15, 32–38.
Subsequent reports shortly thereafter report on the disappearance                            May, T., Duffy, M., Few, B., & Hough, M. (2005). Understanding drug selling in commu-
of this site from the Deep web amid reports of whitewashing of                                    nities: Insider or outsider training. York: Joseph Rowntree Foundation.
                                                                                             Miles, M. B., & Huberman, A. M. (1994). Qualitative data analysis: An expanded source
customers cash (Jeffries, 2013). We recommend continued moni-
                                                                                                  book (2nd ed.). Thousand Oaks, CA: Sage.
toring of sites involved in the sale of narcotics, pharmaceuticals and                       Qualitative Solutions and Research. (2008). QSR NVIVO 8.0. Melbourne, Australia:
research chemicals, including those on the Deep Web.                                              QSR International Pty. Ltd.
                                                                                             Reuter, P., & Kleiman, M. A. R. (1986). Risks and prices: An economic analysis of drug
                                                                                                  enforcement. In M. Tonry, & N. Morris (Eds.), Crime and justice: An annual review
Conﬂict of interest                                                                               of research (Vol. 7) (pp. 289–340). Chicago: University of Chicago Press.
                                                                                             Riessman, C. (2008). Narrative methods for the social sciences. Los Angeles: Sage.
    The authors declare no conﬂict of interest.                                              Santis, B. R., Hayden, C. V., Ruis, P. S., Anselmo, E., Torres, B. R., & Pérez de los Cobos,
                                                                                                  P. J. (2004). Using privileged access interviewing to identify crack cocaine users.
                                                                                                  Revista chilena de neuro-psiquiatría, 42, 273–280.
References                                                                                   Singer, M. (2001). Toward a bio-cultural and political economic integration of alco-
                                                                                                  hol, tobacco and drug studies in the coming century. Social Science & Medicine,
Barratt, M. J. (2012). Silk Road: eBay for drugs. Addiction, 107, 683–684.                        53, 199–213.
Barratt, M. J., & Lenton, S. (2010). Beyond recruitment? Participatory online research       Stake, R. E. (1995). The art of case study research. Thousand Oaks, CA: Sage.
    with people who use drugs. International Journal of Internet Research Ethics, 3,         Taylor, N. J., & Kearney, J. (2005). Researching hard-to-reach populations: Privileged
    69–86.                                                                                        access interviewers and drug using parents. Sociological Research Online, June, 2.
Barratt, M. J., Lenton, S., & Allen, M. (2013). Internet content regulation, public drug     Tor Project. (2011). Anonymity online. Retrieved 20 September 2012 from
    websites and the growth in hidden Internet services. Drugs: Education, Preven-                https://www.torproject.org/
    tion, and Policy, 20, 195–202.                                                           Van Buskirk, J., Roxburgh, A., Bruno, R., & Burns, L. (2013). Drugs and the Internet (no.
Bitcoin. (2011). Bitcoin. Bitcoin P2P Digital Currency. 2011. Retrieved 27 September              1). Sydney: National Drug and Alcohol Research Centre. http://ndarc.med.unsw.
    2012 from http://bitcoin.org/                                                                 edu.au/sites/default/ﬁles/ndarc/resources/Drugs%26TheInternet Bulletin1.pdf
Bright, D., & Ritter, A. (2010). Retail price as an outcome measure for the effectiveness    Van Hout, M. C., & Bingham, T. (2013a). ‘Silk Road’, the virtual drug marketplace:
    of drug law enforcement. International Journal of Drug Policy, 21, 359–363.                   A single case study of user experiences. International Journal of Drug Policy,
Bourgois, P. (1995). In search of respect: Selling crack in El Barrio. New York: Cambridge        24(September (5)), 385–391. http://dx.doi.org/10.1016/j.drugpo.2013.01.005
    University Press.                                                                        Van Hout, M. C., & Bingham, T. (2013b). ‘Surﬁng the Silk Road’: A study of users’
Brownstein, H. H., Crimmins, S. M., & Spunt, B. J. (2000). A conceptual framework for             experiences. International Journal of Drug Policy, http://dx.doi.org/10.1016/j.
    operationalizing the relationship between violence and drug market stability.                 drugpo.2013.08.011 [Epub ahead of print; September 8]
    Contemporary Drug Problems, 27, 867–890.                                                 Werb, D., Rowell, G., Guyatt, G., Kerr, T., Montaner, J., & Wood, E. (2011). Effect of drug
Caulkins, J. P., & MacCoun, R. (2003). Limited rationality and the limits of supply               law enforcement on drug market violence: A systematic review. International
    reduction. Journal of Drug Issues, 33(2 (Spring)), 433–464.                                   Journal of Drug Policy, 22, 87–94.
Caulkins, J. P., & Reuter, P. (2009). Towards a harm-reduction approach to enforce-          Yin, R. K. (2003). Case study research: Design and methods (3rd ed.). Thousand Oaks,
    ment. Safer Communities, 8, 9–23.                                                             CA: Sage.




  Please cite this article in press as: Van Hout, M. C., & Bingham, T. Responsible vendors, intelligent consumers: Silk Road, the online revolution in
  drug trading. International Journal of Drug Policy (2013), http://dx.doi.org/10.1016/j.drugpo.2013.10.009
